Case 2:03-cr-20336-.]PI\/| Document 76 Filed 04/27/05 Page 1 of 2 Page|D 118

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESSEE t _` 71 h _ _ _
WESTERN DIVISION 05 cc § s l 15

 

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 03-20336»Ml

ROBERT KIMBREL

Defendant($)

~_»-_/~_»~_/~__r\_¢~_r~_»-_¢\-_»`_--._¢

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Report Date on Tuesday, April 26, 2005 at 8:45
a.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued. the matter for a
Suppression Hearing and Report Date on Friday, June 17, 2005 at 3:30 p.m.
with a trial date of July 5, 2005.

The period from May 13, 2005 through July 15, 2005 is excludable
under 18 U-S.C. § BlSl(h)(B)(B)(iv) to allow defense COunSel additional
time to prepare.

IT IS SO ORDERED this the Q('” day of April, 2005.

JON HIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

This document entered on the dccketjjeet in tompi:an:s

wm Hu:e 55 arm/or 32(b} aach on _Z£LQS/__

i":Lw\PHIS

   

UNITED sETATs DISTRICT COURT - WESRTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:03-CR-20336 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 38111

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

